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Attorneys for Defendant
HAWAI‘I PACIFIC UNIVERSITY

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAI‘I

  JARNETT LONO,                         Civil No. 22-00400 JMS-WRP
             Plaintiff,
                                        FIRST STIPULATION TO
        v.                              CONTINUE TRIAL DATE AND
                                        PRETRIAL DEADLINES; ORDER
  HAWAI‘I PACIFIC UNIVERSITY,
             Defendant.                 Old Trial Date:
                                        Date: February 6, 2024
                                        Time: 9:00 a.m.

                                        New Trial Date:
                                        Date: __________________
                                        Time: __________________

                                        Trial Judge: Hon. J. Michael Seabright
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                   FIRST STIPULATION TO CONTINUE
                 TRIAL DATE AND PRETRIAL DEADLINES

      Pursuant to LR6.2, Plaintiff JARNETT LONO (“Plaintiff”) and Defendant

HAWAI‘I PACIFIC UNIVERSITY (“Defendant”), by and through their respective

counsel of record, hereby stipulate and agree to extend the present trial date of

February 6, 2024 to a date not earlier than April 8, 2024, and to extend the related

and remaining associated dates as set forth by the Court.

      Personal issues have arisen that have necessarily inhibited the progression of

the case. The Parties require more time to complete discovery and depositions of

key witnesses to enable productive settlement negotiations.

      Therefore, pursuant to Federal Rules of Civil Procedure 16(b)(4), good

cause exists for the requested two month extension of time to allow for meaningful

settlement discussions.

      The Parties do not believe an extension of time will prejudice either party or

result in undue delay.

      The Parties respectfully request this Court thereby enter an Amended Rule

16 Scheduling Order with a new trial date, not earlier than April 8, 2024, and new

dates for the remaining and associated pretrial dates.
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      DATED: Honolulu, Hawai‘i, August 29, 2023.



                                     /s/ Chasid M. Sapolu
                                    CHASID M. SAPOLU
                                    Attorney for Plaintiff
                                    JARNETT LONO



                                     /s/ Trisha C. Gibo
                                    TRISHA C. GIBO
                                    JESSICA M. SNEED
                                    Attorneys for Defendant
                                    HAWAI‘I PACIFIC UNIVERSITY



APPROVED AND SO ORDERED:

 DATED: HONOLULU, HAWAII, August 30, 2023.




Jarnett Lono v. Hawai‘i Pacific University; Civil No. 22-00400 JMS-WRP; FIRST
STIPULATION TO CONTINUE TRIAL DATE AND PRETRIAL DEADLINES; ORDER

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